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 8                          UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               CR No.   2:22-cr-00540-AB

11             Plaintiff,                    I N F O R M A T I O N

12             v.                            [26 U.S.C. § 7206(1): Subscribing
                                             to a False Tax Return]
13   DONNY KADOKAWA,

14             Defendant.

15

16        The United States Attorney charges:
17                                     COUNT ONE
18                              [26 U.S.C. § 7206(1)]
19        On or about February 1, 2019, in Los Angeles County, within the
20   Central District of California, and elsewhere, defendant DONNY
21   KADOKAWA willfully made and subscribed to a materially false United
22   States Individual Income Tax Return, Form 1040, for calendar year
23   2018, which was filed with the Internal Revenue Service and verified
24   by a written declaration that it was made under the penalties of
25   perjury, and which income tax return defendant KADOKAWA did not
26   believe to be true as to every material matter, in that, on such Form
27   1040, defendant KADOKAWA reported on line 6 that his total income for
28   calendar year 2018 was -$26,913, when, as defendant KADOKAWA then
      Case 2:22-cr-00540-DMG Document 1 Filed 11/16/22 Page 2 of 3 Page ID #:2



 1   knew, his total income for that year was substantially higher than he

 2   reported.

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 1                                     COUNT TWO

 2                              [26 U.S.C. § 7206(1)]

 3        On or about February 21, 2020, in Los Angeles County, within the

 4   Central District of California, and elsewhere, defendant DONNY

 5   KADOKAWA willfully made and subscribed to a materially false United

 6   States Individual Income Tax Return, Form 1040, for calendar year

 7   2019, which was filed with the Internal Revenue Service and verified

 8   by a written declaration that it was made under the penalties of

 9   perjury, and which income tax return defendant KADOKAWA did not

10   believe to be true as to every material matter, in that, on such Form

11   1040, defendant KADOKAWA reported on line 7b that his total income

12   for calendar year 2019 was -$18,249, when, as defendant KADOKAWA then

13   knew, his total income for that year was substantially higher than he

14   reported.

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16                                         E. MARTIN ESTRADA
                                           United States Attorney
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19                                         SCOTT M. GARRINGER
                                           Assistant United States Attorney
20                                         Chief, Criminal Division
21                                         RANEE A. KATZENSTEIN
                                           Assistant United States Attorney
22                                         Chief, Major Frauds Section
23                                         ALEXANDER B. SCHWAB
                                           Assistant United States Attorney
24                                         Deputy Chief, Major Frauds Section
25                                         JEFF MITCHELL
                                           Assistant United States Attorney
26                                         Major Frauds Section
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